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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


 STEVEN BALL,

         Plaintiff,
 v.                                                                   Hon. Jane M. Beckering

 MARY JO ROBINSON,                                                    Case No. 1:23-cv-649

         Defendant.


               ORDER GRANTING DEFENDANT’S PRO SE APPLICATION
                     FOR ELECTRONIC FILING AND SERVICE

       Pro se Defendant, Mary Jo Robinson, has completed and filed a Pro Se Application for

Electronic Filing and Service, pursuant to W.D.Mich. LCivR 5.7 and Administrative Order

17-RL-135 (ECF No. 32) on the form specified by the Clerk of this Court.

       Defendant Mary Jo Robinson meets all of the technical requirements necessary to

successfully e-file, and the Court concludes that granting Defendant’s request will further the “just,

speedy, and inexpensive determination of [this] action.” Fed. R. Civ. P. 1.

       Accordingly, Defendant’s Pro Se Application for Electronic Filing and Service (ECF No.

32) is GRANTED.


Date: October 31, 2023                                        /s/ Sally J. Berens
                                                              SALLY J. BERENS
                                                              U.S. Magistrate Judge
